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Leave to file GRANTED
GumA G+ Slevin

IN THE UNITED STATES DISTRICT COURT United States District Judge
FOR THE DISTRICT OF COLUMBIA lo-lo- 2020

UNITED STATES OF AMERICA., Crim. No. 17-232 (EGS)

v.
MICHAEL T. FLYNN,

Defendant.

[PROPOSED] ORDER GRANTING MOTION FOR LEAVE TO FILE BRIEF OF AMICI
CURIAE

Upon consideration of the Motion for Leave to File Brief of Amici Curiae The Steady
State and Former National Security Officials in Opposition to the Department of Justice’s

Motion to Dismiss, and for good cause shown;
IT IS HEREBY ORDERED, that the Motion for Leave is GRANTED and that the

aforementioned Brief of Amici Curiae is deemed filed with this Court upon entry of this Order.

DATED this day of , 2020

* The Honorable Emmet G. Sullivan
United States District Court Judge
